                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA


                                  CIVIL MINUTES - GENERAL
 Case No.       2:17-cv-09154-ODW (SK)                                  Date   January 10, 2018
 Title          Maurice Carlo Baugh v. Josie Gastelo


 Present: The Honorable        Steve Kim, United States Magistrate Judge
                   Marc Krause                                              n/a
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Petitioner:                 Attorneys Present for Respondent:
                   None present                                          None present
 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE: EXHAUSTION

        Petitioner filed a petition for writ of habeas corpus under 28 U.S.C. § 2254, challenging
his convictions for shooting at an inhabited dwelling, being a felon in possession of a firearm,
and two counts of assault with a firearm. (Pet., ECF No. 1). It is clear from the face of the
Petition that Petitioner has not exhausted his remedies in state court for each claim raised.
(Pet. at 7). A federal court may not grant habeas relief to a person held in state custody, unless
he has exhausted available state court remedies by fairly presenting his federal claims to the
California Supreme Court. See 28 U.S.C. § 2254(b)(1)(A); Baldwin v. Reese, 541 U.S. 27, 29
(2004); Rose v. Lundy, 455 U.S. 509, 518–22 (1982).

       Therefore, Petitioner is ORDERED TO SHOW CAUSE on or before February 9, 2018,
why the petition should not be dismissed for failure to exhaust state remedies. Alternatively,
Petitioner may voluntarily dismiss this action in order to exhaust his state remedies and file a
new petition in federal court, if necessary, after the requisite exhaustion. See Slack v.
McDaniel, 529 U.S. 473, 486 (2000). The Clerk is directed to provide Petitioner with a Notice
of Dismissal Form (CV-009).

      Petitioner is advised that failure to file a timely response to this Order to
Show Cause may result in dismissal of this action for failure to prosecute. See
Fed. R. Civ. P 41(b); L.R. 41-1.




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